






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00556-CR






In re Ariel Payan




Frintha Carrington, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. 9024032, HONORABLE JON N. WISSER, JUDGE PRESIDING






O R D E R  TO  SHOW  CAUSE


PER CURIAM

This is a contempt proceeding ancillary to Frintha Carrington's appeal from a
judgment of conviction for aggravated assault.  The subject of this proceeding is Mr. Ariel Payan,
appellant's counsel.

The time for filing appellant's brief in this cause was extended two times on counsel's
motion.  On May 5, 2003, in granting the second motion, this Court ordered counsel to tender a brief
on appellant's behalf no later than June 16, 2003.  Counsel failed to file a brief as ordered.

Therefore, the said Ariel Payan is ordered to appear in person before this Court on
the 10th day of September 2003, at 8:30 o'clock a.m., in the courtroom of this Court, located in the
Price Daniel, Sr. Building, 209 West 14th Street, City of Austin, Travis County, Texas, then and
there to show cause why he should not be held in contempt and sanctions imposed for his failure to
obey the May 5, 2003, order of this Court.  This order to show cause will be withdrawn and the said
Ariel Payan will be relieved of his obligation to appear before this Court as above ordered if the
Clerk of this Court receives appellant's brief by September 5, 2003.

It is ordered July 25, 2003.


Before Chief Justice Law, Justices B. A. Smith and Patterson

Do Not Publish


